                                                                   Case 2:16-bk-13575-ER             Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53           Desc
                                                                                                      Main Document    Page 1 of 26


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                                                                   7   Attorneys for Official Committee of Creditors
                                                                       Holding Unsecured Creditors
                                                                   8
                                                                                                      UNITED STATES BANKRUPTCY COURT
                                                                   9
                                                                                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                  10
                                                                                                               LOS ANGELES DIVISION
                                                                  11   In re:                                             Case No.: 2:16-bk-13575-TD
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   LIBERTY ASSET MANAGEMENT                             Chapter 11
                                                                       CORPORATION,
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                        NOTICE OF MOTION AND MOTION OF
                                           ATTORNEYS AT LAW




                                                                                                   Debtor and               THE OFFICIAL COMMITTEE OF
                                                                  14                               Debtor in Possession     UNSECURED CREDITORS FOR ENTRY
                                                                                                                            OF AN ORDER (A) ESTABLISHING THE
                                                                  15                                                        PROCEDURES AND DEADLINES FOR
                                                                                                                            FILING PROOFS OF CLAIM AND
                                                                  16                                                        INTERESTS; AND (B) APPROVING
                                                                                                                            FORM AND MANNER OF NOTICE OF
                                                                  17                                                        BAR DATES; AND (C) GRANTING
                                                                                                                            RELATED RELIEF; MEMORANDUM OF
                                                                  18                                                        POINTS AND AUTHORITIES IN
                                                                                                                            SUPPORT
                                                                  19
                                                                                                                            [No Hearing Required Pursuant to Local
                                                                  20                                                        Bankruptcy Rule 9013-1(q)]

                                                                  21   TO THE HONORABLE THOMAS B. DONOVAN, UNITED STATES BANKRUPTCY
                                                                       JUDGE, THE DEBTOR AND DEBTOR IN POSSESSION, THE OFFICE OF THE UNITED
                                                                  22   STATES TRUSTEE, AND ALL PARTIES REQUESTING SPECIAL NOTICE:
                                                                  23            PLEASE TAKE NOTICE that the Official Committee of Creditors Holding Unsecured

                                                                  24   Claims (the “Committee”) appointed in the bankruptcy case of Liberty Asset Management

                                                                  25   Corporation (the “Debtor”) hereby moves the Court (the “Motion”) for entry of an order: (a)

                                                                  26   establishing the procedures and, pursuant to Rules 2002(a)(7) and 3003(c)(3) of the Federal Rules of

                                                                  27   Bankruptcy Procedure (the “Bankruptcy Rules”), the deadlines for filing (the “Bar Dates”) proofs of

                                                                  28   claim or interest pursuant to section 501 of title 11 of the United States Code (the “Bankruptcy


                                                                       DOCS_SF:91213.4 52593/002
                                                                   Case 2:16-bk-13575-ER           Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53                 Desc
                                                                                                    Main Document    Page 2 of 26


                                                                   1   Code”) and Rule 3003 of the Bankruptcy Rules; and (b) approving the form and manner of notice to

                                                                   2   creditors and other interested parties of the established procedures and deadlines. By the Motion, the

                                                                   3   Committee requests, pursuant to Bankruptcy Rule 3003(c)(3), that the Court establish September 2,

                                                                   4   2016 (the “Bar Date”) as the deadline by which any person or other entity (except for governmental

                                                                   5   entities) that wishes to assert a prepetition claim or interest pursuant to section 501 of the

                                                                   6   Bankruptcy Code (collectively, a “Prepetition Claim”) against the Debtor, must file and serve a

                                                                   7   proof of claim or interest (a “Proof of Claim”) or forever be barred from asserting such Prepetition

                                                                   8   Claim. The Committee also requests that the Court establish September 19, 2016 as the

                                                                   9   Governmental Units Bar Date pursuant to section 502(b)(9) of the Bankruptcy Code, and that any

                                                                  10   claims arising from the rejection of executory contracts or the avoidance of claims under chapter 5 of

                                                                  11   the Bankruptcy Code be subject to the deadline of the general Bar Date or thirty days after the claim
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                                                                  12   arose.
                                        LOS ANGELES, CALIFORNIA




                                                                  13            As described below, setting the Bar Dates are necessary for the Debtor and the Committee to
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                                                                  14   determine the total amount, number, and types of claims or interests that are asserted against or in

                                                                  15   this Estate so that it can expeditiously obtain confirmation of a Plan. Setting the Bar Dates will

                                                                  16   facilitate the wind-up and administration of the estate as efficiently and promptly as possible.

                                                                  17            Further, pursuant to Local Rule 3003-1 and the mandatory form of order, the Committee

                                                                  18   seeks the Court’s approval of the order setting such Bar Dates (the “Order Setting Bar Dates”) to be

                                                                  19   mailed by first class mail to all of the Debtor’s known creditors, and the form and manner of notice

                                                                  20   to be published in The World Journal, an internationally circulated foreign newspaper, for notice to

                                                                  21   the unknown creditors of the Debtor (the “English Form of Notice and Mandarin Publication Notice”

                                                                  22   and together with the Order Setting Bar Date, the “Bar Date Notices”). Copies of the Committee’s

                                                                  23   proposed Order Setting Bar Date and the English Form of Notice and Mandarin Publication Notice

                                                                  24   are attached hereto as Exhibits A and B, respectively; and a blank Proof of Claim form is attached

                                                                  25   as Exhibit C.

                                                                  26            PLEASE TAKE FURTHER NOTICE that, pursuant to Local Rule 9013-1(q)(9), the

                                                                  27   Motion may be determined without a hearing and without additional notice.

                                                                  28

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                                                                       DOCS_SF:91213.4 52593/002
                                                                   Case 2:16-bk-13575-ER           Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53             Desc
                                                                                                    Main Document    Page 3 of 26


                                                                   1             WHEREFORE the Committee respectfully requests that the Court enter an order (a)

                                                                   2   approving September 2, 2016, as the Bar Date; (b) approving September 19, 2016 as the

                                                                   3   Governmental Units Bar Date; (c) precluding any party that fails to file and serve a Proof of Claim in

                                                                   4   the manner described in the Bar Date Notices, attached as Exhibits A and B hereto, from asserting a

                                                                   5   right to payment of that claim anytime thereafter; (d) approving the form and manner of service of

                                                                   6   the Bar Date Notices; and (e) granting such other and further relief as the Court deems just and

                                                                   7   proper.

                                                                   8   Dated: July 7, 2016                          PACHULSKI STANG ZIEHL & JONES LLP
                                                                   9

                                                                  10                                                By:       /s/ Gail S. Greenwood
                                                                                                                            Jeremy V. Richards
                                                                  11                                                        Gail S. Greenwood
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                                        Attorneys for Official Committee of Unsecured
                                                                                                                            Creditors
                                        LOS ANGELES, CALIFORNIA




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                                           ATTORNEYS AT LAW




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                                                                   Case 2:16-bk-13575-ER             Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53             Desc
                                                                                                      Main Document    Page 4 of 26


                                                                   1                               MEMORANDUM OF POINTS AND AUTHORITIES

                                                                   2            By the Motion, the Committee requests that the Court establish a deadline by which all

                                                                   3   persons must file and serve proofs of claim, or forever be barred from asserting any such claims

                                                                   4   against the Debtor. Provided the Motion is approved, creditors will receive approximately 35 days’

                                                                   5   notice of the bar date sought by the motion. Establishing the bar date promptly, therefore, will not

                                                                   6   prejudice any creditor and will greatly assist the Debtor and the Committee in facilitating the

                                                                   7   administration of this estate as efficiently and promptly as possible.

                                                                   8                                                      I.

                                                                   9                                              JURISDICTION

                                                                  10            The Court has jurisdiction over this Motion pursuant to 28 U.S.C. § 1334. This proceeding is

                                                                  11   a core proceeding within the meaning of 28 U.S.C. §§ 157(b)(2)(A) and (O).
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                                                                  12            Venue of these proceedings and this Motion is proper in this District pursuant to 28 U.S.C.
                                        LOS ANGELES, CALIFORNIA




                                                                  13   §§ 1408 and 1409.
                                           ATTORNEYS AT LAW




                                                                  14            The statutory predicates for the relief sought herein are sections 501 and 502(b)(9) of the

                                                                  15   Bankruptcy Code, Bankruptcy Rules 2002(a)(7) and 3003, and Local Rules 3003-1 and 9013-1(q).

                                                                  16                                                      II.

                                                                  17                                         STATEMENT OF FACTS

                                                                  18            On March 21, 2016 (the “Petition Date”), the Debtor commenced its case under chapter 11 of

                                                                  19   the Bankruptcy Code, which is Case No. 2:16-bk-13575-TD before this Court.

                                                                  20            On April 27, 2016, the United States Trustee appointed the Committee to represent the

                                                                  21   interests of all unsecured creditors for the Debtor pursuant to section 1102 of the Bankruptcy Code.

                                                                  22   The members appointed to the Committee are: (i) JD Brothers LLC; (ii) Faith Hope International

                                                                  23   Ltd.; and (iii) Richbest Holding LLC.

                                                                  24

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                                                                   Case 2:16-bk-13575-ER               Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53                          Desc
                                                                                                        Main Document    Page 5 of 26


                                                                   1                                                               III.

                                                                   2                                                 RELIEF REQUESTED

                                                                   3   A.        The Bar Dates

                                                                   4             The Committee requests that the Court fix September 2, 2016, as the Bar Date. The Bar

                                                                   5   Date will serve as the deadline by which parties that assert claims or interests against the Debtor that

                                                                   6   arose prior to the Petition Date must file proofs of claim.

                                                                   7             The Committee further requests that the Court establish deadlines for filing claims held by

                                                                   8   (a) non-debtor parties to rejected leases and executory contracts, (b) parties against which the Debtor

                                                                   9   has obtained a judgment avoiding a transfer pursuant to the avoidance powers set forth in chapter 5

                                                                  10   of the Bankruptcy Code, and (c) a Governmental Unit, as that term is defined in section 101(27) of

                                                                  11   the Bankruptcy Code, each as follows:
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                                                                  12                      (a)      for claims arising from the rejection of executory contracts or unexpired
                                        LOS ANGELES, CALIFORNIA




                                                                  13   leases pursuant to 11 U.S.C. § 365, the last day to file a Proof of Claim will be the later of thirty (30)
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                                                                  14   days after the date of entry of the order authorizing the rejection, or the Bar Date of September 2,

                                                                  15   2016;

                                                                  16                      (b)      for claims arising from the avoidance of a transfer under chapter 5 of the

                                                                  17   Bankruptcy Code, the last day to file a Proof of Claim will be the later of thirty (30) days after the

                                                                  18   entry of judgment avoiding the transfer or the Bar Date of September 2, 2016; and

                                                                  19                      (c)      for claims of governmental units that arose before the Petition Date, the last

                                                                  20   day to file a Proof of Claim will be September 19, 2016, 180 days after the date of the Order for

                                                                  21   Relief in this case (the “Governmental Units Bar Date”).1

                                                                  22   B.        Notice of the Bar Dates

                                                                  23             Pursuant to Local Rule 3003-1, notice of a claims bar date in a chapter 11 case must be made

                                                                  24   using the mandatory court-approved form. Rule 3003-1 provides:

                                                                  25                      No later than 7 days after the court orders a bar date for the filing of proofs
                                                                                          of claim in a chapter 11 case, whether on its own initiative or on a motion
                                                                  26                      filed pursuant to LBR 9013-1(q), the debtor in possession or the chapter 11
                                                                                          trustee must file and serve on all creditors, and all other parties entitled to
                                                                  27
                                                                       1
                                                                  28       The 180th day after the Petition Date is September 17, 2016 (Saturday). Pursuant to Bankruptcy Rule 9006, the date is
                                                                           automatically extended to the next business day, September 19, 2016.
                                                                                                                               2
                                                                       DOCS_SF:91213.4 52593/002
                                                                   Case 2:16-bk-13575-ER            Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53                          Desc
                                                                                                     Main Document    Page 6 of 26


                                                                   1                     notice, a notice of the claims bar date using mandatory court approved form
                                                                                         F 3003-1.NOTICE.BARDATE.
                                                                   2

                                                                   3            The Committee submits a proposed Order Setting Bar Dates as Exhibit A hereto, using the

                                                                   4   mandatory court-approved form, which it proposes to serve along with the English Form of Notice,

                                                                   5   attached hereto as Exhibit B.1, and a blank Proof of Claim form, attached hereto as Exhibit C.2

                                                                   6   Pursuant to Local Rule 3003-1, within seven days after entry of the order or no later than July 15,

                                                                   7   2016, the Committee will promptly serve the bar date package (Exhibits A, B, and C) by first class

                                                                   8   mail on all known creditors and equity holders and all parties requesting special notice. The Bar

                                                                   9   Date Notices will give the known creditors and parties in interest at least 35 days’ notice of the

                                                                  10   proposed Bar Date of September 2, 2016. The Committee believes that the proposed form and

                                                                  11   manner of service of the Bar Date Notices gives all known creditors and other parties in interest
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                                                                  12   good and sufficient notice of the Bar Dates required to properly file a Proof of Claim and is tailored
                                        LOS ANGELES, CALIFORNIA




                                                                  13   to meet the needs of the Estate.
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                                                                  14            The Committee proposes to provide notice of the Bar Dates to unknown creditors and

                                                                  15   potential creditors of the Debtor by publishing a notice, substantially in the form of the Mandarin

                                                                  16   Publication Notice attached hereto as Exhibit B.2, as translated from the English Form of Notice,

                                                                  17   one time in The World Journal at least 30 days before the Bar Date. The Mandarin Publication

                                                                  18   Notice will be published in both simple and traditional characters to reach as many potential

                                                                  19   claimants as possible. The Mandarin Publication Notice is certified as a true and accurate translation

                                                                  20   as to both translations. See Exhibit B.2. The Committee is informed that The World Journal is a

                                                                  21   Chinese language newspaper of general circulation that has one of the largest readerships among the

                                                                  22   Chinese community in Los Angeles County and San Francisco County. The Committee believes

                                                                  23   that a single publication in The World Journal will provide adequate notice of the Bar Dates to

                                                                  24   unknown and potential holders of claims and requests the Court’s approval of the form and manner

                                                                  25   of the Mandarin Publication Notice.

                                                                  26

                                                                  27
                                                                       2
                                                                  28    The Proof of Claim form (Official Form 410) has been modified to permit a party to specify the investment property
                                                                       and/or special purpose entity that is the basis of the claim. See Item 8, Exhibit C.
                                                                                                                             3
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                                                                   Case 2:16-bk-13575-ER           Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53                    Desc
                                                                                                    Main Document    Page 7 of 26


                                                                   1                                                        IV.

                                                                   2                                                ARGUMENT

                                                                   3            Bankruptcy Rule 3003(c)(3) provides that the Court “shall fix . . . the time within which

                                                                   4   proofs of claim or interest may be filed.”

                                                                   5            Furthermore, Bankruptcy Rule 3002(a) provides that an unsecured creditor or an equity

                                                                   6   security holder must file a Proof of Claim, except as provided in Bankruptcy Rule 3003. Bankruptcy

                                                                   7   Rule 3003(b), which applies in chapter 11 cases, provides that the Schedules filed by a debtor shall

                                                                   8   constitute prima facie evidence of the validity and the amount of the claims of creditors, unless they

                                                                   9   are scheduled as disputed, contingent, unliquidated or unknown. In other words, no filing of a claim

                                                                  10   is necessary by a creditor for a claim that appears on the Schedules and which is not scheduled as

                                                                  11   disputed, contingent, unliquidated or unknown by the debtor and to which the debtor is in agreement.
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                                                                  12            Bankruptcy Rule 3003(c)(2), in turn, provides that any creditor or equity security holder
                                        LOS ANGELES, CALIFORNIA




                                                                  13   whose claim or interest is not listed in the Schedules, or is listed as disputed, contingent,
                                           ATTORNEYS AT LAW




                                                                  14   unliquidated or unknown, shall file a Proof of Claim within the time prescribed by subsection (c)(3)

                                                                  15   of that Bankruptcy Rule, and any such creditor who fails to file such a Proof of Claim shall not be

                                                                  16   treated as a creditor with respect to such claim or interest for the purpose of receiving any

                                                                  17   distribution from the estate.

                                                                  18            Prior to the date hereof, creditors and equity security holders may have filed proofs of claim

                                                                  19   or interest with the Court Clerk in this case. In order to avoid the result that creditors file duplicative

                                                                  20   claims in response to the Bar Date Notice to be served by the Committee, the Committee hereby

                                                                  21   proposes that creditors who have already filed proofs of claim with the Court not be required to file a

                                                                  22   Proof of Claim a second time.

                                                                  23            Upon information and belief, the list of creditors that is contained in the Debtor’s Schedules

                                                                  24   (or as listed in any supplements or amendments thereto) and the original matrix of creditors filed at

                                                                  25   the inception of the case includes the names and addresses of all known creditors and potential

                                                                  26   creditors of the Debtor.

                                                                  27            The Committee intends to serve the bar date package, including a copy of the Order Setting

                                                                  28   Bar Date, within seven days after entry of such order, by U.S. Postal Service first class mail, postage

                                                                                                                        4
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                                                                   Case 2:16-bk-13575-ER           Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53                 Desc
                                                                                                    Main Document    Page 8 of 26


                                                                   1   prepaid, on the following parties: (i) all known creditors, (ii) all parties listed on the Debtor’s master

                                                                   2   mailing matrix; (iii) all entities having filed a notice of appearance and demand for papers, (iv) the

                                                                   3   Debtor’s equity security holders, and (v) the Office of the United States Trustee. The Committee

                                                                   4   anticipates that parties shall have at least 35 days’ notice of the earliest Bar Date and ample

                                                                   5   opportunity to prepare and submit a Proof of Claim.

                                                                   6            For the reasons set forth above, the Committee requests approval of this Motion without

                                                                   7   notice and hearing pursuant to Local Rule 9013-1(q).

                                                                   8                                                        V.

                                                                   9                                               CONCLUSION

                                                                  10            For all the foregoing reasons, the Committee respectfully requests that the Court enter an

                                                                  11   order (a) fixing September 2, 2016, as the Bar Date by which any person or other entity (other than
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                                                                  12   a governmental unit) that wishes to assert a Prepetition Claim against the Debtor must file and serve
                                        LOS ANGELES, CALIFORNIA




                                                                  13   a Proof of Claim; and (b) establishing September 19, 2016 as the Governmental Units Bar Date;
                                           ATTORNEYS AT LAW




                                                                  14   (c) precluding any person or other entity that fails to file and serve a Proof of Claim in the manner

                                                                  15   described in the English and Mandarin Publication Notice on or before the relevant Bar Date from

                                                                  16   asserting a right to payment of such claim, anytime thereafter; (f) approving the method and manner

                                                                  17   of publication and service of the Order Setting Bar Dates, the English and Mandarin Publication

                                                                  18   Notice, and the Proof of Claim form; and (g) granting such other and further relief as is just and

                                                                  19   proper under the circumstances.

                                                                  20   Dated: July 7, 2016                            PACHULSKI STANG ZIEHL & JONES LLP
                                                                  21

                                                                  22                                                  By:        /s/ Gail S. Greenwood
                                                                                                                                 Jeremy V. Richards
                                                                  23                                                             Gail S. Greenwood
                                                                  24                                                             Attorneys for Official Committee of
                                                                                                                                 Unsecured Creditors
                                                                  25

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Case 2:16-bk-13575-ER         Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53   Desc
                               Main Document    Page 9 of 26


                                         EXHIBIT A

                       (Mandatory Court-Approved Form of Order F3003-1)




DOCS_SF:91213.4 52593/002
         Case 2:16-bk-13575-ER                    Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53                                         Desc
                                                   Main Document    Page 10 of 26

 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
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     Individual appearing without attorney
                   Official Committee of Creditors Holding
     Attorney for: Unsecured Creditors
                                      UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES                                               DIVISION

In re:                                                                      CASE NO.: 16-13575-TD
LIBERTY ASSET MANAGEMENT CORPORATION,
                                                                            CHAPTER: 11


                                                                                  ORDER SETTING BAR DATE FOR FILING
                                                                                          PROOFS OF CLAIM
                                                                                     [FRBP 3003(c)(3); LBR 3003-1]

                                                                                 No hearing: LBR 9013-1(q)
                                                                                 Hearing information
                                                                            DATE:
                                                                            TIME:
                                                                            COURTROOM:
                                                                            ADDRESS:

                                                              Debtor(s)

Based either on a filed motion to set a bar date or on this court’s own motion, IT IS ORDERED THAT:

1.    The general bar date for creditors of the Debtor to file proofs of claim (Bar Date) is (date) September 2, 2016 ,
      with the exceptions set forth in mandatory court form F 3001-1.NOTICE.BARDATE. With respect to governmental
      units, the person completing the notice is responsible for ensuring that it states the correct exception. If the stated
      deadline is incorrect, then the actual deadline is hereby set as the latter of (a) the incorrect date stated in the notice,
      (b) the statutory deadline (11 U.S.C. §§ 101(27) and 502(b)(9)), or (c) the general Bar Date.
//




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           This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

 December 2015                                                          Page 1                                       F 3003-1.ORDER.BARDATE
 DOCS_SF:91303.1 52593/002
           Case 2:16-bk-13575-ER                    Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53                                         Desc
                                                     Main Document    Page 11 of 26


2.        On or before (date) July 15, 2016 , the Debtor must serve written notice of the bar date, using mandatory court
          form F 3003-1.NOTICE.BARDATE, on all creditors and the United States trustee.

3.            Other (specify):

    (a) for claims arising from the rejection of executory contracts or unexpired leases pursuant to 11 U.S.C. § 365, the last
    day to file a proof of claim will be the later of thirty (30) days after the date of entry of the order authorizing the rejection,
    or September 2, 2016;

    (b) for claims arising from the avoidance of a transfer under chapter 5 of the Bankruptcy Code, the last day to file a
    proof of claim will be the later of thirty (30) days after the entry of judgment avoiding the transfer or September 2, 2016;
    and

    (c) for claims of governmental units that arose before the Petition Date, the last day to file a proof of claim will be
    September 19, 2016, 180 days after the date of the Order for Relief in this case.
                                                              ###




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             This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2015                                                             Page 2                                       F 3003-1.ORDER.BARDATE
DOCS_SF:91303.1 52593/002
Case 2:16-bk-13575-ER       Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53   Desc
                             Main Document    Page 12 of 26


                                      EXHIBIT B.1

                            (Form of Notice – English Version)




DOCS_SF:91213.4 52593/002
                                                                   Case 2:16-bk-13575-ER              Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53            Desc
                                                                                                       Main Document    Page 13 of 26


                                                                   1                                   UNITED STATES BANKRUPTCY COURT
                                                                                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                   2
                                                                                                             LOS ANGELES DIVISION
                                                                   3
                                                                       In re:                                                  Case No.: 2:16-bk-13575-TD
                                                                   4
                                                                       LIBERTY ASSET MANAGEMENT                                Chapter 11
                                                                   5   CORPORATION,

                                                                   6                                Debtor and
                                                                                                    Debtor in Possession
                                                                   7
                                                                                           NOTICE OF BAR DATES FOR FILING PROOFS OF CLAIM
                                                                   8
                                                                       TO: ALL CREDITORS AND OTHER PARTIES IN INTEREST WITH CLAIMS AGAINST
                                                                   9                      THE ABOVE-CAPTIONED DEBTOR:

                                                                  10            PLEASE TAKE NOTICE that:

                                                                  11   The United States Bankruptcy Court for the Central District of California, Los Angeles Division (the
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                                                                       “Court”) entered an Order (the “Bar Date Order”) in the chapter 11 case (the “Case”) of the above-
                                                                  12   captioned debtors and debtor in possession (the “Debtor”) in accordance with Bankruptcy Rule
                                                                       3003(c) fixing the deadlines for filing proofs of claim (“Proofs of Claim”) in this Case as set forth
                                        LOS ANGELES, CALIFORNIA




                                                                  13   below:
                                           ATTORNEYS AT LAW




                                                                  14   a.       September 2, 2016 (the “Bar Date”) as the last day for the filing of Proofs of Claim in this
                                                                                Case for all claims (except as set forth below) against the Debtor arising prior to the time on
                                                                  15            March 21, 2016 the petition was filed (the “Petition Date”);

                                                                  16   b.       September 19, 2016 (the “Governmental Units Bar Date”) as the last day for all
                                                                                governmental units, as defined in section 101(27) of the Bankruptcy Code, to file Proofs of
                                                                  17            Claim against the Debtors arising before the Petition Date;

                                                                  18   c.       The later of (a) 30 days after the date of entry of the order authorizing the rejection, or
                                                                                (b) September 2, 2016 (the “Rejection Bar Date”) as the last day for the filing of Proofs of
                                                                  19            Claim against the Debtor arising from rejection of executory contracts or unexpired leases
                                                                                pursuant to section 365 of the Bankruptcy Code; and
                                                                  20
                                                                       d.       The later of (a) 30 days after the entry of judgment avoiding the transfer, or
                                                                  21            (b) September 2, 2016 (the “Avoided Transfer Bar Date”) as the last day for the filing of
                                                                                Proofs of Claim against the Debtor arising from the avoidance of a transfer under chapter 5
                                                                  22            of the Bankruptcy Code.

                                                                  23    All claims, as defined in section 101(5) of title 11 of the United States Code (the “Bankruptcy
                                                                        Code”), arising before the Petition Date, except as otherwise provided for or specifically excepted
                                                                  24    herein, shall be in writing, together with supporting documentation, substantially conforming with
                                                                        Official Bankruptcy Form 410, or as otherwise prescribed or authorized under the Bankruptcy
                                                                  25    Rules, so they are actually received on or before the Bar Date, the Governmental Units Bar Date,
                                                                        the Rejection Bar Date or the Avoided Transfer Bar Date, as applicable, at the following address:
                                                                  26
                                                                                                   By First-Class Mail, Overnight Mail, or Hand Delivery:
                                                                  27
                                                                                                                      Clerk of Court
                                                                  28                                          United States Bankruptcy Court
                                                                                                               Central District of California

                                                                       DOCS_SF:91213.4 52593/002
                                                                   Case 2:16-bk-13575-ER             Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53            Desc
                                                                                                      Main Document    Page 14 of 26


                                                                   1                               Edward R. Roybal Federal Building and Courthouse
                                                                                                           255 E. Temple Street, Room 940
                                                                   2                                           Los Angeles, CA 90012

                                                                   3    Proofs of Claim should be mailed or hand delivered to the Court Clerk at the above address so they
                                                                        are actually received by the Bar Date, the Governmental Units Bar Date, the Rejection Bar Date or
                                                                   4    the Avoided Transfer Bar Date, as applicable, and Proofs of Claim and that are emailed or sent by
                                                                        facsimile or telecopy, or sent to any other location will not be accepted.
                                                                   5
                                                                        The following claims, administrative requests, and interests are excepted from the provisions of the
                                                                   6    Bar Date Order (the “Excepted Claims/Interests”) and are not required to be filed on or before the
                                                                        Bar Date, the Governmental Units Bar Date, the Rejection Bar Date or the Avoided Transfer Bar
                                                                   7    Date: (a) claims already received by the Court Clerk; (b) claims listed in the Debtor’s Schedules, if
                                                                        the claimant does not dispute the amount or manner in which its claim is listed in the Schedules or
                                                                   8    the nature of the claim and if such claim is not designated therein as “contingent,” “unliquidated,”
                                                                        “disputed” or “unknown;” (c) claims arising on or after the Petition Date; (d) claims of
                                                                   9    professionals retained by the Debtor or any official committee appointed in this Case pursuant to
                                                                        orders of this Court who assert administrative claims for fees and expenses subject to the Court’s
                                                                  10    approval pursuant to sections 328, 330, and 331 of the Bankruptcy Code; (e) claims by any person
                                                                        or entity whose claim has been paid by the Debtor or has been otherwise satisfied; (f) any claim for
                                                                  11    fees relating to this Case under 28 U.S.C. § 1930, and (g) equity interests in the Debtor. Should the
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                        Court, in the future, fix a date by which the Excepted Claims/Interest must be filed, you will be
                                                                  12    notified.
                                        LOS ANGELES, CALIFORNIA




                                                                  13    Any Proof of Claim required to be filed pursuant to the provisions of the Bar Date Order and not
                                           ATTORNEYS AT LAW




                                                                        filed on or before the Bar Date, the Governmental Units Bar Date, the Rejection Bar Date or the
                                                                  14    Avoided Transfer Bar Date, as applicable, shall not be treated as a valid claim for the purposes of
                                                                        voting and distribution in this Case.
                                                                  15
                                                                        The Debtor’s Schedules and/or the Bar Date Order may be (i) examined and inspected by interested
                                                                  16    parties during regular business hours at the office of the Clerk of the Court, 255 East Temple Street,
                                                                        Room 940, Los Angeles, California 90012; (ii) for a fee, on the Court’s website,
                                                                  17    www.canb.uscourts.gov (a PACER account is required); or (iii) by contacting counsel for the
                                                                        Committee as set forth below.
                                                                  18
                                                                        Any questions concerning this notice should be directed to counsel for the Committee, Pachulski
                                                                  19    Stang Ziehl & Jones LLP, Attn: Gail S. Greenwood at ggreenwood@pszjlaw.com or (415) 263-
                                                                        7000.
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Case 2:16-bk-13575-ER        Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53       Desc
                              Main Document    Page 15 of 26


                                        EXHIBIT B.2

           (Form of Publication Notice – Certified Translations in Simplified and

                             Traditional Chinese Characters)




DOCS_SF:91213.4 52593/002
                                          Case 2:16-bk-13575-ER            Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53   Desc
                                                                            Main Document    Page 16 of 26


                                          1                                    美国破产法院加州中央区洛杉矶分部

                                          2                                                     案件编号：2:16-bk-13575-TD
                                          3
                                              关于：
                                          4
                                              LIBERTY ASSET MANAGEMENT                          第11章
                                          5   CORPORATION,
                                          6                               债务人和
                                                                          拥有控制权的债务人
                                          7
                                                                                   索赔证明提交截止日期通知
                                          8
                                                                           收件人：所有债权人和其他向上述债务人索赔
                                          9                                   的利益方

                                         10   请注意：

                                         11   美国破产法院加州中央区洛杉矶分部（以下简称本“法庭”）已根据破产规则3003（c），为
                                              上述债务人和其他拥有控制权的债务人（以下简称“债务人”）的第11章案例（以下简称本
PACHULSKI STANG ZIEHL & JONES LLP




                                              “案例”）做出一个命令（以下简称“截止日期命令”），确定了在本案例中提交索赔证据
                                              （以下简称“索赔证据”）的期限，规定如下：
                                    律师




                                         12   a.      2016年9月2日（以下简称“截止日期”）是为在提交呈请书日期2016年3月21日（以
                                                      下简称“呈请书日期”）以前对债务人提出的所有索赔要求（除以下所列）为本案例
                                                      提交索赔证据的最后一天；

                                         13   b.      2016年9月19日（以下简称“政府单位截止日期”）是如《破产法》第101（27）节所
                                                      定义，向所有政府单位提交在呈请书日期之前产生的对债务人的索赔证据的最后一天；
                                         14   c.      （a）在判决授权反对日期后的30天，或（b）2016年9月2日，以后者为准，（以下简
                                                      称“反对截止日期”），是依据《破产法》第365节，由于反对待履行合同或未到期租
                                                      约而产生的对债务人提出的索赔证据提交的最后一天；及
                                         20
                                              d.      （a）在判决避免转移30天之后，或（b）2016年9月2日，以后者为准，（以下简称
                                         21            “避免转帐日期”），是依据《破产法》第5章，对由于针对债务人避免转帐提出的
                                                      索赔证据提交的最后一天。

                                         22    所有索赔要求，按《美国法典》第11部分第101（5）节（以下简称“《破产法》”）中所定
                                               义，在呈请书日期之前所产生的，除本文中另有规定或特别例外，须以书面形式，连同证明文
                                               件，严格符合《正式破产表格410》，或依据破产规则另有规定或授权，以便在截止日期、政府单位
                                               截止日期、反对截止日期或避免转帐日期（适用日期）之前，
                                         26
                                                        通过普通邮件、隔夜快递、或亲自送达至以下地址，以便能够实际收到他们:
                                         27
                                                                               法庭书记员（Clerk of Court）
                                         28                                     美国破产法院加州中央区
                                                                            （United States Bankruptcy Court
                                                                                 Central District of Califo
                                                                                 rnia）

                                              DOCS_SF:91213.4 52593/002
                                             Case 2:16-bk-13575-ER            Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53   Desc
                                                                               Main Document    Page 17 of 26


                                          1                                 Edward R. Roybal Federal Building and Courth
                                                                                     ouse 255 E. Temple Street, Room 940
                                          2                                              Los Angeles, CA 90012

                                          3      应按以上地址将索赔证据邮寄或亲自送达到法庭书记员，以便在截止日期、政府单位截止日
                                                 期、反对截止日期或避免转帐日期（适用日期）之前，实际收到他们。通过电子邮件发送或
                                                 通过传真或发送至任何其它地址的索赔证据将不被接受。
                                          5
                                                 以下索赔要求、管理要求和利益不受截止日期命令（以下简称“除外索赔/利益”）条文限制，
                                                 并不需要在截止日期、政府单位截止日期、反对截止日期或避免转帐日期之前提交：（a）法
                                                 庭书记员已经收到的索赔；（b）在债务人目录中所列出的索赔，如果索赔人没有争议金额或
                                                 在目录中列出的索赔方式或索赔性质，并且如果该类索赔要求没有指定为“有条件的”、
                                                 “未清偿的”、“有争议的”或“未知的”；（c）在呈请书日期或之后产生的索赔；（d）
                                                 由债务人或任何官方委员会依据本法院命令为本案例任命专业人员，其声称依据《破产法》
                                                 第328、330、和331节，应受法院批准的行政索赔费用和开支、由专业人员提出的索赔；（e）
                                                 由任何个人或实体提出的索赔，其索赔要求已由债务人支付或已以其他方式满足；（f）依据
                                                 1930年《美国法典》第28节与本案例有关的费用的任何索赔，和（g）债务人的股本利息。如
                                                 果法院在未来确定一个必须提交除外索赔/利益的日期，您将收到通知。

                                         6       为本案例表决和分配目的，任何依据截止日期命令的条文要求提交的索赔证据，如果未在截
                                                 止日期、政府单位截止日期、反对截止日期或避免转帐日期（适用日期）或之前提交，将不
                                                 被视为有效的索赔。
PACHULSKI STANG ZIEHL & JONES LLP




                                         15
                                                 可能（i）在正常的工作时间在法庭书记员办公室，地址：255 East Temple Street, Room 9
                                                 40, Los Angeles, California 90012；（ii）收费在该法院的网站 www.canb.uscourts.
                                                 gov （需要一个 PACER 帐户）；或（iii）通过联系如下所述的律师委员会，由相关当事各
                                    律师




                                                 方对债务人目录和/或截止日期命令审查和检查。
                                         18
                                                 如对这一通知有任何问题，应直接联系律师委员会，Pachulski Stang Ziehl & Jones LLP，
                                                 联系人 Gail S. Greenwood：ggreenwood@pszjlaw.com 或（415）263-7000。
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                                          Case 2:16-bk-13575-ER        Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53   Desc
                                                                        Main Document    Page 18 of 26


                                          1                                美國破產法院加州中央區洛杉磯分部

                                          2                                                     個案編號：2:16-bk-13575-TD
                                          3
                                              關於：
                                          4
                                              LIBERTY ASSET MANAGEMENT                          第11章
                                          5   CORPORATION，
                                          6                           債務人和
                                                                      持有控制權的債務人
                                          7
                                                                               索償證明提交截止日期通知
                                          8
                                                                         致：所有債權人及其他向上述債務人索償
                                          9                               的利益方

                                         10   請注意：

                                         11   美國破產法院中央區加州洛杉磯分部（以下簡稱本「法院」）已根據破產保護規則 3003
                                              （c） ， 爲上述債務人和其他持有控制權的債務人（以下簡稱「債務人」）的第 11 章個案
PACHULSKI STANG ZIEHL & JONES LLP




                                              （以下簡稱本「個案」）做出一個命令（以下簡稱「截止日期命令」），確定了在本個案中
                                              提交索償證據（以下簡稱「索償證據」）的期限，規定如下：
                                    律師




                                         12   a.        2016年9月2日（以下簡稱「截止日期」）為在提交呈請書日期2016年3月21日（以下簡
                                                        稱「呈請書日期」）之前對債務人提出的所有索償要求（以下所列除外）爲本個案提
                                                        交索償證據的最後一天；

                                         13   b.         2016年9月19日（以下簡稱「政府單位截止日期」）為如破產法第101（27）所定義，
                                                        向所有政府單位提交在呈請書日期之前產生的對債務人的索償證據的最後一天；
                                         •    c.        （a）在判決授權反對日期後的30天，或（b）2016年9 月 2 日，以後者為準，（以下簡
                                                        稱「反對截止日期」），為依據破產法第365節，由於反對待履行合同或未到期租約而
                                                        對債務人提出的索償證據提交的最後一天；及
                                         20
                                              d.        （a）在判決避免轉移日期後的30天，或（b）2016年9月2日，以後者為準，（以下簡稱
                                                        「避免轉帳日期」），爲依據破產法第5章，對由於債務人避免轉帳提出的索償證據提
                                                        交的最後一天。
                                         21    所有索償，按美國法典第11部分第101(5)節（以下簡稱「破產法」）所定義，在呈請書日期
                                               之前所產生的，除本文中另有規定或特別例外，須以書面形式，連同證明文件，嚴格符合正
                                               是破產表格410，或依據破產規則另有規定或授權，以便在截止日期、政府單位截止日期、
                                               反對截止日期或避免轉帳日期（適用日期）之前，
                                         26
                                                         由普通郵件、隔夜快遞郵件、或手動傳送至以下地址，以便能夠實際收到他們:
                                         27
                                                                              法庭書記員（Clerk of Court）
                                         28                                  美國破產法院加州中央區 （U
                                                                              nited States Bankruptcy Court Ce
                                                                              ntral District of California）

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                                             Case 2:16-bk-13575-ER         Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53        Desc
                                                                            Main Document    Page 19 of 26


                                          1                              Edward R. Roybal Federal Building and Courthouse 255 E.
                                                                                   Temple Street， Room 940
                                             2                                         Los Angeles， CA 90012

                                          3       應按照上述地址將索賠證據郵寄或者親自送達給法庭書記員，以便在截止日期、政府單位截
                                                  止日期、反對截止日期或避免轉帳日期（適用日期）之前，實際收到他們。通過電子郵件或
                                                  傳送傳真或傳送至任何其他地址的索償證據將不被接受。
                                          5
                                                  下列索偿、行政要求、和利益可免受截止日期命令（以下簡稱「除外索偿/利益」）條款限制，
                                         6        並不需要在截止日期、政府單位截止日期、反對截止日期或避免轉帳日期（適用日期）之前
                                                  提交：（a）法庭書記員已收到的索償;（b）在債務人目錄中所列索償，若索償人不會爭議其
                                                  金額或在目錄中列出的索償方式或索償性質，及 如該類索償並未指定爲「有條件性」、
                                                  「未清償」、「有爭議」、或「未知」；（c）在呈請書日期或之後產生的索償;（d）由債務
                                                  人或任何官方委員會依據本法院命令爲本個按任命專業人員，并聲稱依據破產法第328、330
                                                  及331節，應受法院批準的行政索賠費用和開支、由專業人員提出的索償;（e）由任何個人
                                                  或實體提出的索償，其索償要求已由債務人支付或已以其他方式滿足；（f）依據1930年美
                                                  國法典第28節与本個案相關的費用的任何索償及（g）債務人的淨值利益。如果法院在未來
                                                  確定一個必須提交除外索償/利益的日期，您將會收到通知。

                                         7        爲本個案表決和分配目的，任何須依據截止日期命令條文要求提交的索償證據，在截止日期、
                                                  政府單位截止日期、反對截止日期或避免轉帳日期（適用日期）或之前提交，不應被視為一
PACHULSKI STANG ZIEHL & JONES LLP




                                                  種有效索償。
                                         15
                                                  可能（i）在正常上班時間在法庭書記員辦公室，地址：255 East Temple Street，Room 940， Lo
                                    律師




                                                  sAngeles，California 90012;（II）收費在該法庭的網站 www.canb.uscourts.gov（需要一個 PACER
                                                  帳戶）; 或（iii）通過聯係如下所述法律顧問委員會，由相關當事雙方對債務人目錄和/或截止
                                                  日期命令予以審查及檢查。
                                         18
                                                  若關於此項通知有任何問題，應直接聯係法律顧問委員會、Pachulski
                                         19       Stang Ziehl & Jones LLP，受文者：Gail S. Greenwood 於 ggreenwood@pszjlaw.com 或（415）263-
                                                  7000。
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Case 2:16-bk-13575-ER       Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53   Desc
                             Main Document    Page 20 of 26


                                      EXHIBIT C

                                 (Proof of Claim Form)




DOCS_SF:91213.4 52593/002
             Case 2:16-bk-13575-ER                           Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53                                             Desc
                                                              Main Document    Page 21 of 26
  Fill in this information to identify the case:

  Debtor 1              Liberty Asset Management Corporation
                        __________________________________________________________________

  Debtor 2               ________________________________________________________________
  (Spouse, if filing)

  United States Bankruptcy Court for the: __________   District
                                          Central District      of __________
                                                           of California

  Case number            16-13575-TD
                         ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                     12/15

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?                          ___________________________________________________________________________________________________________
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been
   acquired from
                                         No
   someone else?                         Yes. From whom?         ______________________________________________________________________________________________________



3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      _____________________________________________________                       _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                     ______________________________________________________                      ______________________________________________________
                                      Number      Street                                                          Number      Street

                                      ______________________________________________________                      ______________________________________________________
                                      City                       State             ZIP Code                       City                       State             ZIP Code

                                      Contact phone    ________________________                                   Contact phone   ________________________

                                      Contact email     ________________________                                  Contact email   ________________________



                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend                 No
   one already filed?
                                         Yes. Claim number on court claims registry (if known) ________                                Filed on   ________________________
                                                                                                                                                   MM / DD       / YYYY



5. Do you know if anyone                 No
   else has filed a proof                Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




  Official Form 410                                                             Proof of Claim                                                             page 1
Case 2:16-bk-13575-ER         Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53                                         Desc
                               Main Document    Page 22 of 26




            Specify any investment property and/or any special purpose entity (LLC) that is the basis of your claim.
           Case 2:16-bk-13575-ER                          Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53                                                Desc
                                                           Main Document    Page 23 of 26

12. Is all or part of the claim     No
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                               Amount entitled to priority

   A claim may be partly                     Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                   Up to $2,775* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                             Wages, salaries, or commissions (up to $12,475*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                             Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                               $____________________

                                             Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                   $____________________

                                             Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                   $____________________

                                          * Amounts are subject to adjustment on 4/01/16 and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                       I am the creditor.
 FRBP 9011(b).                    I am the creditor’s attorney or authorized agent.
 If you file this claim           I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
                              I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                              Executed on date _________________
                                                           MM / DD     /   YYYY




                                  ________________________________________________________________________
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  _______________________________________________________________________________________________

                                  Company                _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                _______________________________________________________________________________________________
                                                         Number        Street

                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone          _____________________________                              Email          ____________________________________




 Official Form 410                                                           Proof of Claim                                                                page 3
       Case 2:16-bk-13575-ER                Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53                     Desc
                                             Main Document    Page 24 of 26



                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                      10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): MOTION OF THE OFFICIAL COMMITTEE OF
UNSECURED CREDITORS FOR ENTRY OF AN ORDER (A) ESTABLISHING THE PROCEDURES AND
DEADLINES FOR FILING PROOFS OF CLAIM AND INTERESTS; AND (B) APPROVING FORM AND
MANNER OF NOTICE OF BAR DATES; AND (C) GRANTING RELATED RELIEF will be served or was served
(a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
July 7, 2016, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                    Service information continued on
                                                                                    attached page

2. SERVED BY UNITED STATES MAIL:
On (date) July 7, 2016, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.


                                                                                    Service information continued on
                                                                                    attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) July 7 2016, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA FEDERAL EXPRESS
Honorable Thomas B. Donovan
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1352
Los Angeles, CA 90012
                                                                                    Service information continued on
                                                                                    attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

      July 7, 2016                  SOPHIA L. LEE                           /s/ Sophia L. Lee
                                    Printed Name                            Signature




        DOCS_SF:91213.4 52593/002
     Case 2:16-bk-13575-ER         Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53                  Desc
                                    Main Document    Page 25 of 26


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

              Kyra E Andrassy kandrassy@swelawfirm.com,
               csheets@swelawfirm.com;gcruz@swelawfirm.com;hdavis@swelawfirm.com
              Lei Lei Wang Ekvall lekvall@swelawfirm.com,
               csheets@swelawfirm.com;gcruz@swelawfirm.com;hdavis@swelawfirm.com
              John D Fiero jfiero@pszjlaw.com, ocarpio@pszjlaw.com
              John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
              Barry S Glaser bglaser@swesq.com, erhee@swesq.com
              David B Golubchik dbg@lnbyb.com, dbg@ecf.inforuptcy.com
              Gail S Greenwood ggreenwood@pszjlaw.com, efitzgerald@pszjlaw.com
              David S Henshaw david@henshawlaw.com, info@henshawlaw.com
              Jeffrey S Kwong jsk@lnbyb.com, jsk@ecf.inforuptcy.com
              Ian Landsberg ian@landsberg-law.com, casey@landsberg-law.com;lisa@landsberg-
               law.com;diana@landsberg-law.com;yesi@landsberg-
               law.com;ilandsberg@ecf.inforuptcy.com
              David W. Meadows david@davidwmeadowslaw.com
              Charles Alex Naegele alex@canlawcorp.com, alexnaegelelaw@gmail.com
              Victoria Newmark vnewmark@pszjlaw.com
              Queenie K Ng queenie.k.ng@usdoj.gov
              Laura Palazzolo laura.palazzolo@berliner.com, sabina.hall@berliner.com
              Jeremy V Richards jrichards@pszjlaw.com,
               bdassa@pszjlaw.com;imorris@pszjlaw.com
              Mark Romeo romeolaw@msn.com
              Robert M Saunders rsaunders@pszjlaw.com, rsaunders@pszjlaw.com
              United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
              James S Yan jsyan@msn.com
          


      2. SERVED BY UNITED STATES MAIL:

      AA 166 Geary LLC                 Alan D. and Julianne F. Nolet      Benjamin Kirk
      Attn: Reuben Robin               2400 Grove Blvd.                   c/o David Meadows, Esq.
      449 S. Beverly Drive             Austin, TX 78741                   1801 Century Park East, Suite
      Beverly Hills, CA 90212                                             1235
                                                                          Los Angeles, CA 90067
      Block 3 Development Partners     David Trinh                        East West Bank
      LLC                              Trinh Law                          Attn: Risk Operations Dept.
      4 Embarcadero Center, Ste.       99 N 1st St, Ste 200               9500 Flair Drive, 4th Floor
      3300                             San Jose, CA 95113                 El Monte, CA 91731
      San Francisco, CA 94111
      First American Title Company     Helena Chang Cosman                Lucy Gao
      Attn: Corporate Service Co.      3579 E. Foothill Blvd., Ste. 621   Attn: Robert Lisnow, Esq.
      2710 Gateway Oaks Drive, Suite   Pasadena, CA 91107                 10866 Wilshire Blvd., Suite 400
      150N                                                                Los Angeles, CA 95833
      Sacramento, CA 95833




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      DOCS_SF:91213.4 52593/002
Case 2:16-bk-13575-ER          Doc 158 Filed 07/07/16 Entered 07/07/16 13:06:53              Desc
                                Main Document    Page 26 of 26


Margaret Chiu                      Mega Bank                        Northern California Mortgage
935 S. San Gabriel Blvd.           Attn: Elsie Chow                 Fund VII
San Gabriel, CA 91776              Senior Vice President            Attn: Mark Romeo, Esq.
                                   245 West Valley Blvd.            Law Offices of Mark J. Romeo
                                   San Gabriel, CA 91776-3737       235 Montgomery St., Ste. 400
                                                                    San Francisco, CA 94104
Samantha Galapin                   Scott Whitman                    Sincere Escrow
4708 Merced Ave.                   Scott L. Whitman, Inc.           Attn: Margaret Chiu
Baldwin Park, CA 91706             5670 Wilshire Blvd., Ste. 2170   935 S. San Gabriel Blvd.
                                   Los Angeles, CA 90036            San Gabriel, CA 91776
SJ 10177 LLC                       Tsai Luan Ho                     Tsai Luan Ho
5150 El Camino Real #B-23          126 Atherton Ave.                Attn: George Eshoo
Los Altos, CA 94022                Atherton, CA 94027               Law Offices of George P. Eshoo
                                                                    702 Marshall St., Suite 500
                                                                    Redwood City, CA 94063
Vanessa Lavendera
f/k/a Vanessa Van Holland
6984 Vining Street
Chino, CA 91710


3. SERVED BY EMAIL:

  Liberty Asset Management Corporation
  400 S. Hope Street, Suite 1050
  Los Angeles, CA 90071
  Attn: Lawrence Perkins, Chief Restructuring Officer
  lperkins@scpllc.com




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DOCS_SF:91213.4 52593/002
